Civil Cover Sheet Input Form                                                                                      Page 1 of 3



                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF MISSOURI

                         Civil Cover Sheet Input Form
This form has been approved for use by the general public for generating the civil cover sheet for
filing new cases in the Western District of Missouri. Your comments about the form and
suggestions for improvements are always greatly appreciated.

* This application works best with Netscape 6+


This automated JS-44 conforms generally to manual JS-44 approved by the Judicial Conference of the United States in
September 1974. The data is required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. The
information contained herein neither replaces nor supplements the filing and service of pleadings or other papers as required
by law. This form is authorized for use only in the Western District of Missouri. Instructions)

                      I (a) - PLAINTIFFS                                          DEFENDANTS
                          Add New Plaintiff                                      Add New Defendant
                      Spencer Norman         Edit   Delete            Taser International, Inc.      Edit    Delete
                       Kiefer Norman         Edit   Delete                    Camden County          Edit    Delete
                     Courtney Norman         Edit   Delete                      Brian D Fiene        Edit    Delete
                      Helen S Norman         Edit   Delete                Dwight D Franklin          Edit    Delete
          b) - County of Residence of First Listed Plaintiff         County of Residence of First Listed Defendant
                  Camden                                                    Outside State of Missouri
                                            County Where Claim for Relief Arose
                                               Camden
                     c) Plaintiff's Attorney
                      Add New PLA Attorney                               Defendant's Attorney (If known)
                                                                                Add New DFT Attorney


              Check here if you are filing a motion to proceed in forma pauperis

       Does this case seek a declaration judgment that a Missouri statute, rule or regulation is
       unconstitutional on its face or seek to enjoin the enforcement of a rule or regulation as
       to all persons because it is unconstitutional on its face? No

       NOTE: Do not include cases that only allege that the State of Missouri or any of its agencies
       have acted unconstitutionally or petitions or complaints filed by persons confined in federal,
       state, county or municipal penal institutions, jail or mental institutions.

II. Basis of Jurisdiction
(Select from drop menu below)
 3. Federal Question (U.S. not a party)


III. Citizenship of Principal Parties (Diversity cases only)
PLAINTIFF


               Case 2:12-cv-04210-NKL Document 1-1 Filed 08/02/12 Page 1 of 3

http://www.mow.uscourts.gov/district/forms/civil_cover_sheet/cvcover.html                                             8/2/2012
Civil Cover Sheet Input Form                                                                                                                Page 2 of 3



 N/A
DEFENDANT
 N/A
IV. Origin
(Select from drop menu below)
 1. Original Proceeding
V. Nature of Suit (Select one box)
Contract                                                                   Torts                                    Other Statutes
    110 Insurance                                                                                                        375 False Claims Act
    120 Marine                       Personal Injury                         Personal Injury                             400 State Reapportionment
                                          310 Airplane                             362 Med. Malpractice
    130 Miller Act                                                                                                       410 Antitrust
                                          315 Airplane Product Liability          365 Personal Injury - Product
    140 Negotiable Instrument                                                                                            430 Banks & Banking
                                                                             Liability
                                          320 Assault, Libel & Slander
    150 Recovery of Overpayment &                                                                                        450 Commerce/ICC Rates/ etc
                                                                                 368 Asbestos Personal Injury
Enforcement of Judgment                   330 Federal Employers' Liability   Product Liability                           460 Deportation
    151 Medicare Act                      340 Marine                         Personal Property
                                                                                                                         470 RICO
    152 Student Loan -non VA                                                       370 Other Fraud
                                          345 Marine Product Liability
                                                                                                                        850 Securities / Commodities /
    153 Recovery of VA Benefits                                                    371 Truth in Lending             Exchange
                                          350 Motor Vehicle
    160 Stockholder Suits                                                          380 Other Pers Property Damage        891 Agricultural Acts
                                          355 Motor Vehicle Product
    190 Other Contract               Liability                                    385 Property Damage Product            893 Environmental Matters
                                          360 Other Personal Injury          Liability
    195 Contract Product Liability                                                                                       895 Freedom of Information Act
                                          367 Health Care/Pharm Personal
                                                                                                                         896 Arbitration
Real Property                        Injury Product Liability
                                                                                                                        899 Admin. Proc. Act/Review or
    210 Land Condemnation                                                                                           Appeal of Agency Decision

    220 Foreclosure
                                     Immigration                                                                         950 Constitutionality of State
                                                                                                                    Statute
                                         462 Naturalization Application
    230 Rent Lease & Ejectment
                                                                                                                         890 Other Statutory Actions
                                         463 Habeas Corpus - Alien Detainees
    240 Torts to Land
                                         465 Other Immigration Actions
    245 Tort Product Liability                                                                                      Social Security
    290 Other Real Property          Civil Rights                            Prisoner Petitions                          861 HIA (1395ff)

                                          441 Voting                               510 Motions to Vacate Sentence        862 Black Lung (923)
Bankruptcy                                442 Employment                      Habeas Corpus:                             863 DIWC/DIWW (405(g))
    422 Appeal 28 USC 158                                                          530 Habeas Corpus General
                                          443 Housing/Accomodations                                                      864 SSID Title XVI
    423 Withdrawal 28 USC 157                                                      535 Habeas Death Penalty
                                          448 Education                                                                  865 RSI (405(g))
                                                                                   540 Mandamus & Other
                                          440 Other Civil Rights
Property Rights                                                                    550 Civil Rights                 Federal Tax Suits
    820 Copyrights                                                                 555 Prison Condition                 870 Taxes US Plaintiff or
    830 Patent                                                                                                      Defendant
                                                                                   560 Conditions of Confinement
    840 Trademark                                                                                                        871 IRS Third Party 26 USC 7609
                                                                             Labor
                                                                                   710 Fair Labor Standards Act
                                     Forfeiture/Penalty                            720 Labor/Mgmt. Relations
                                         625 Drug Related Seizure of
                                                                                   740 Railway Labor Act
                                     Property 21 USC 881
                                                                                   751 Family & Medical Leave Act
                                          690 Other
                                                                                   790 Other Labor Litigation
                                                                                   791 E.R.I.S.A.

Is this a removal from state court? No
VI Cause of Action (CITE THE U. S. STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE. DO NOT
CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY.)



                    Case 2:12-cv-04210-NKL Document 1-1 Filed 08/02/12 Page 2 of 3

http://www.mow.uscourts.gov/district/forms/civil_cover_sheet/cvcover.html                                                                        8/2/2012
Civil Cover Sheet Input Form                                                                             Page 3 of 3



 28 U.S.C. 1331


                            Class Action Under FRCP 23     Demand                       Jury Demand
VII. Requested in                                                                       (requested in Complaint)
                                                           EXCESS 25000
Complaint                   Not Class Action
                                                                                            Yes     No
                            is not a refiling of a previously dismissed action.
                            is related to case number                     , assigned to Judge                    .
VIII. This Case
                            is a refiling of case number                     , previously dismissed by Judge
                                               .


DATE 8/2/2012             SIGNATURE OF ATTORNEY OF RECORD
/S/ John G. Simon

IMPORTANT - The submission of this Civil Cover Sheet does not constitute the filing of your
complaint. You MUST electronically file your complaint upon notification from the Clerk's
Office.

                                      Generate JS-44           Reset Form




            Case 2:12-cv-04210-NKL Document 1-1 Filed 08/02/12 Page 3 of 3

http://www.mow.uscourts.gov/district/forms/civil_cover_sheet/cvcover.html                                      8/2/2012
